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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  BIXING PENG, Individually and On
  Behalf of All Others Similarly Situated,    Case No. 2:17-cv-00119-AET-
                                              LHG
                                 Plaintiff,
                                              MEMORANDUM OF LAW IN
  v.                                          SUPPORT OF HOYT W.
                                              CLARK’S MOTION FOR
  AGILE   THERAPEUTICS,             INC.,     CONSOLIDATION OF THE
  ALFRED     ALTOMARI,                and     ACTIONS, APPOINTMENT AS
  ELIZABETH GARNER,                           LEAD PLAINTIFF AND
                                              APPROVAL OF SELECTION
                              Defendants.     OF LEAD COUNSEL

                                              MOTION DATE: April 3, 2017
  ANDREA               LICHTENTHAL,
  Individually and On Behalf of All Others    Case   No.   3:17-cv-00405-AET-
  Similarly Situated,
                                              LHG
                                 Plaintiff,

  v.
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  AGILE   THERAPEUTICS,           INC.,
  ALFRED     ALTOMARI,              and
  ELIZABETH GARNER,

                            Defendants.
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       Hoyt W. Clark (“Clark” or “Movant”), by counsel, respectfully submits this

 Memorandum of Law pursuant to the Securities Exchange Act of 1934 (the

 “Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities

 Litigation Reform Act of 1995 (the “PSLRA”) for entry of an order: (i) consolidating

 the above-captioned actions (“Actions”); (ii) appointing Movant as Lead Plaintiff;

 (iii) approving Movant’s selection of the law firm of Levi & Korsinsky LLP (“Levi

 & Korsinsky”) to serve as Lead Counsel under 15 U.S.C. § 78u-4(a)(3)(B)(v); and

 (iv) granting such other and further relief as the Court may deem just and proper.

  I.   INTRODUCTION

       Presently pending in this District are the two above-captioned securities class

 actions brought pursuant to Sections 10(b) and 20(a) of the Exchange Act, 15 U.S.C.

 § 78j(b) and 78t(a), and U.S. Securities and Exchange Commission Rule 10b-5

 promulgated thereunder, against Agile Therapeutics, Inc. (“Agile” or the

 “Company”), the Company’s President and Chief Executive Officer, Alfred

 Altomari (“Altomari”), and the Company’s Chief Medical Officer, Elizabeth Garner

 (“Garner”) for violations of federal securities laws on behalf of a class of purchasers




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 of the securities of Agile Therapeutics between March 9, 2016, and January 3, 2017,

 inclusive (the “Class Period”). 1

        Pursuant to the PSLRA, this Court must appoint the member of the class “most

 capable of adequately representing the interests of class members” to serve as lead

 plaintiff. See 15 U.S.C. § 78u-4(a)(3)(B)(i). Movant believes he is entitled to

 appointment as Lead Plaintiff as the movant with the largest financial interest that

 otherwise meets the applicable requirements of Rule 23 of the Federal Rules of Civil

 Procedure. During the Class Period Movant sustained approximately $58,983.85 in

 losses as a result of purchasing shares of Agile securities at artificially inflated

 prices.2 Movant also respectfully requests that the Court approve Levi & Korsinsky

 as Lead Counsel. See 15 U.S.C. § 78u-4(a)(3)(B)(v) (“the most adequate plaintiff

 shall, subject to the approval of the court, select and retain counsel to represent the

 class”).




 1
   The Actions are entitled: (i) Peng v. Agile Therapeutics, Inc. et al., 2:17-cv-00119-
 AET-LHG (the “Peng Action”); and (ii) Lichtenthal v. Agile Therapeutics, Inc. et
 al., 3:17-cv-00405-AET-LHG (the “Lichtenthal Action).
 2
   See Declaration of Eduard Korsinsky in Support of Hoyt W. Clark’s Motion for
 Consolidation of the Actions, Appointment as Lead Plaintiff and Approval of
 Selection of Lead Counsel, dated March 7, 2017 (“Korsinsky Decl.”), Ex. A
 (Movant’s PSLRA certification); Ex. B (Movant’s loss chart).

                                           2
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 II.   STATEMENT OF FACTS

       Agile develops women’s healthcare products. ¶ 2. 3 The Agile’s lead product

 is Twirla, its hormonal contraceptive patch. During the Class Period, the Complaint

 alleges that Defendants failed to disclose that: (i) the Twirla had an efficacy rating

 inferior to peer group standards; (ii) more than half of patients in its “SECURE”

 Phase 3 clinical study of Twirla discontinued the study prematurely; and (iii)

 therefore the U.S. Food and Drug Administration (“FDA”) would likely not approve

 the Twirla patch marketing application. ¶ 3.

       At the beginning of the Class Period on March 9, 2016, the Company issued

 a press release announcing fourth quarter and full year 2015 results. The press

 released stated in relevant part that: “This past year was a productive one for Agile

 as we completed enrollment in our SECURE clinical trial and expanded our

 intellectual property portfolio,” said Al Altomari, Chief Executive Officer and

 President of Agile. “We have continued our momentum into 2016 by strengthening

 our cash position through the completion of our common stock offering, and we

 believe we are now well-positioned to advance Twirla® through the clinic. We look




 3
   Citations to “¶ __” are to paragraphs of the Class Action Complaint For Violations
 of the Federal Securities Laws (the “Complaint”) filed in the Peng Action. The facts
 set forth in the Complaint are incorporated herein by reference.
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 forward to Twirla becoming the first low-dose combined hormonal contraceptive

 patch for women.” ¶ 16.

       On the same day, the Company filed its annual report on Form 10-K with the

 SEC, and reaffirmed the Company’s belief that the SECURE study would support

 the Twirla FDA marketing application. ¶ 17. This Form 10-K also discussed the

 Company’s framework of the SECURE study. ¶ 18.

       On May 9, 2016, the Company issued a press release announcing the first

 quarter 2016 fiscal results. ¶ 19. This press release also discussed the SECURE

 clinical trial, stating the Company had made significant progress during the first

 quarter of 2016 by improving its cash position through the completion of its common

 stock offering, and the Company’s continued expectations to complete the SECURE

 trial in the fourth quarter of 2016. Id.

       On August 8, 2016, Agile published a press release announcing second quarter

 2016 results. ¶ 21. In this press release, the Company further discussed the success

 of the SECURE clinical trial stating that, during the first half of this year, they

 believed they had made significant progress on the execution of their business

 strategy to build a commercially competitive women’s health. Id. In addition, the

 Company continued to represent that it expected to complete the SECURE trial in

 the fourth quarter 2016 and its belief that it would be able to expand its market

 potential through Twirla and its pending marketing application. Id. On the same


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 day, the Company also filed a quarterly report on Form 10-Q with the SEC that

 reaffirmed the Company’s belief that the SECURE study would support the Twirla

 FDA marketing application. ¶ 22.

       On November 7, 2016, the Company published a press release announcing

 third quarter 2016 results. ¶ 23. In this press release the Company, announced the

 completion of subject visits for the SECURE clinical trial. Id. Again, the Company

 touted the progress and success of the SECURE clinical trial. Id. That same day,

 the Company filed a quarterly report on Form 10-Q with the SEC, and reaffirmed

 the Company’s belief that the SECURE study would support the Twirla FDA

 marketing application. ¶ 24.

       Then, on January 3, 2016, the truth emerged when the Company issued a press

 release announcing top line results from the SECURE clinical study. ¶ 26. In this

 press release, the Company stated, in part, that the Twirla patch’s efficacy measure,

 known as its “Pearl Index”, was 4.80, which consequently meant that Twiral failed

 to meet the industry standard for FDA approved contraceptives as the highest Pearl

 Index for a hormonal contraceptive product approved by the FDA is 3.19. Id.

 Additionally, the press release also announced that 51.4% of patients failed to

 continue the study to completion. Id. On this news, Agile’s share price fell $2.37,

 or nearly 50%, to close at $2.63 on January 4, 2017, on unusually heavy trading

 volume. ¶ 27.


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 III.   ARGUMENT

    A. The Actions Should Be Consolidated

        The PSLRA provides that “[i]f more than one action on behalf of a class

 asserting substantially the same claim or claims arising under this [sub-]chapter has

 been filed,” the Court shall not make the determination of the most adequate plaintiff

 until “after the decision on the motion to consolidate is rendered.” 15 U.S.C. § 78u-

 4(a)(3)(B) (ii). Thereafter, the Court “shall appoint the most adequate plaintiff for

 the consolidated actions.” Id.

        Under Rule 42(a) of the Federal Rules of Civil Procedure, consolidation is

 appropriate when the actions involve common questions of law or fact. See Fed. R.

 Civ. P. 42(a). “[C]ourts have taken the view that considerations of judicial economy

 favor consolidation.” Weltz v. Lee, 199 F.R.D. 129, 131 (S.D.N.Y. 2001) (quoting

 Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85 (2d Cir. 1990)). Consolidation is

 particularly appropriate in securities class action litigation. See Mitchell v. Complete

 Mgmt., Inc., No. 99-CV-1454 (DAB), 1999 WL 728678, at *1 (S.D.N.Y. Sept. 17,

 1999) (“In securities actions where the complaints are based on the same ‘public

 statements and reports’ consolidation is appropriate if there are common questions

 of law and fact . . . .”) (citation omitted); Primavera Familienstiftung v. Askin, 173

 F.R.D. 115, 129 (S.D.N.Y. 1997).               Courts, therefore, routinely find that

 consolidating multiple securities cases is an efficient solution where the complaints


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 arise generally from the same alleged false and misleading statements.

       The Actions pending before this Court present similar factual and legal issues,

 as they all involve the same subject matter, are based on the same wrongful course

 of conduct, and name substantially the same defendants. Because the Actions arise

 from the same facts and circumstances and involve the same subject matter, the same

 discovery, similar class certification issues will be relevant to all related actions.

 Accordingly, consolidation under Rule 42(a) is appropriate. See Celotex Corp., 899

 F.2d at 1285; A.F.I.K. Holding SPRL v. Fass, 216 F.R.D. 567, 570 (D.N.J. 2003); In

 re Lucent Technologies Inc. Sec. Litig., 221 F. Supp. 2d 472, 480 (D.N.J. 2001).

       Once the Court decides the consolidation motion, the PSLRA mandates that

 the Court decide the Lead Plaintiff issue “[a]s soon as practicable.” 15 U.S.C. § 78u-

 4(a)(3)(B)(ii). Here, a prompt determination is reasonable and warranted under Rule

 42(a), given the common questions of fact and law presented by the Actions now

 pending in this District.

    B. The PSLRA Standard for Appointing Lead Plaintiff

       The PSLRA sets forth the procedure for the selection of a lead plaintiff in

 “each private action arising under [the Exchange Act] that is brought as a plaintiff

 class action pursuant to the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-

 4(a)(1); see 15 U.S.C. § 78u-4(a)(3)(B). Specifically, within 20 days after the date

 on which a class action is filed, the plaintiff shall cause to be published, in a widely


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 circulated national business-oriented publication or wire service, a notice

 advising members of the purported plaintiff class –

       (I)   of the pendency of the action, the claims asserted therein, and
       the purported class period; and

       (II) that, not later than 60 days after the date on which the notice is
       published, any member of the purported class may move the court to
       serve as lead plaintiff of the purported class.

 15 U.S.C. § 78u-4(a)(3)(A)(i).

       Further, the PSLRA directs the Court to consider any motions by plaintiff

 or purported class members to serve as Lead Plaintiff in response to any such notice

 within 90 days after the date of publication of the notice. 15 U.S.C. § 78u-

 4(a)(3)(B). Under the Exchange Act, the Court “shall” appoint the “most adequate

 plaintiff,” and is to presume that plaintiff is the person which:

       (aa) has either filed the complaint or made a motion in response to a
       notice . . .;

       (bb) in the determination of the court, has the largest financial interest
       in the relief sought by the class; and

       (cc) otherwise satisfies the requirements of Rule 23 of the Federal
       Rules of   Civil Procedure.

 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

    C. Movant is the “Most Adequate Plaintiff” under the Exchange Act

       Movant respectfully submits that he is the “most adequate plaintiff” because

 he has complied with the PSLRA procedural requirements, have the largest financial


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 interest of any movant, and satisfies Rule 23’s typicality and adequacy requirements.

 Further, Movant has selected and retained counsel experienced in the prosecution of

 securities class actions to represent the proposed class. See Korsinsky Decl., Ex. D

 (Firm Resumé of Levi & Korsinsky). Accordingly, Movant satisfies the PSLRA’s

 filing requirements for seeking appointment as lead plaintiff and, therefore should

 be appointed Lead Plaintiff.

                        1. Movant is Willing to Serve as Class Representative

       On January 6, 2017, Plaintiff in the first-filed action caused a notice (the

 “Notice”) to be published pursuant to Section 21D(a)(3)(A) of the Exchange Act,

 which announced that a securities class action had been filed against Defendants and

 which advised putative class members that they had sixty days from the date of the

 Notice to file a motion to seek appointment as a Lead Plaintiff in the action. 4 Movant

 has reviewed a complaint filed in the pending Actions and have timely filed this

 motion pursuant to the Notice.

                        2. Movant Has the Largest Financial Interest in the
                           Relief Sought by the Class

       Under the Exchange Act, a rebuttable presumption exists whereby the movant

 with the largest financial interest in the litigation and who otherwise satisfies the



 4
   The Action was filed in this Court on January 6, 2017. On that same day, the
 Notice was published over BusinessWire, a widely circulated national business
 oriented wire service. See Korsinsky Decl., Exhibit C.
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 requirements of Rule 23 of the Federal Rules of Civil Procedure is presumed to be

 the most adequate plaintiff to lead the action. 15 U.S.C. § 78u-4(a)(3)(B)(iii); Sklar

 v. Amarin Corp. PLC, Civil Action No. 13-cv-06663 (FLW)(TJB), 2014 WL

 3748248, at *4 (D.N.J. July 29, 2014); see also In re Opnext, Inc., No. 08cv-0920,

 2008 U.S. Dist. LEXIS 60678 (D.N.J. Aug. 6, 2008). In determining the “largest

 financial interest” for purposes of lead plaintiff appointment, courts in the Third

 Circuit consider (1) the number of shares that the movant purchased during the

 putative class period; (2) the total net funds expended by the plaintiff during the class

 period; and (3) the approximate losses suffered by the plaintiff. See In re Cendant

 Corp. Litig., 264 F.3d 201, 262 (3d Cir. 2001) (“[W]e agree with the many district

 courts that have held that courts should consider, among other things: (1) the number

 of shares that the movant purchased during the putative class period; (2) the total net

 funds expended by the plaintiff during the class period; and (3) the approximate

 losses suffered by the plaintiff (citing Lax v. First Merch. Acceptance Corp., No. 97

 C 2715, 1997 WL 461036, at *5 (N.D. Ill. Aug. 11, 1997); In re Nice Sys. Sec. Litig.,

 188 F.R.D. 206, 217 (D.N.J. 1999); In re Olsten Corp. Sec. Litig., 3 F. Supp. 2d 286,

 295 (E.D.N.Y. 1998) (same)”); see also Sklar, 2014 WL 3748248, at *4.

       Under the PSLRA, damages are calculated based on (i) the difference between

 the purchase price paid for the shares and the average trading price of the shares

 during the 90-day period beginning on the date the information correcting the


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 misstatement was disseminated, or (ii) the difference between the purchase price

 paid for the shares and the greater of the price they sold the shares or the average

 trading price of the shares between the date when the misstatement was corrected

 and the date on which the plaintiff sold their shares, if they sold their shares before

 the end of the 90-day period. 15 U.S.C. § 78u-4(e).

       During the Class Period, Movant sustained losses in the amount of

 approximately $58,983.85 as a result of purchasing Agile securities at artificially

 inflated prices. See Korsinsky Decl., Ex. B. Movant is not aware of any other

 movant with a larger financial interest and believe he has the largest financial interest

 of any lead plaintiff movant.      Therefore, Movant is presumptively entitled to

 appointment as the Lead Plaintiff.

    D. Movant is Qualified Under Rule 23

       The PSLRA provides that the lead plaintiff must also “otherwise satisf[y] the

 requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-

 4(a)(3)(B)(iii)(I)(cc). Rule 23(a) provides that a party may serve as a class

 representative only if the following four requirements are satisfied:

       (1)    the class is so numerous that joinder of all members is
              impracticable;

       (2)    there are questions of law or fact common to the class;

       (3)    the claims or defenses of the representative parties are typical of
              the claims or defenses of the class; and


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        (4)       the representative parties will fairly and adequately protect the
                  interests of the class.

 Fed. R. Civ. P. 23(a).

        For purposes of appointing lead plaintiff, the determination of whether the

 movant with the largest interest in the case otherwise satisfies Rule 23 “should be

 confined to determining whether the movant has made a prima facie showing of

 typicality and adequacy.” Sklar, 2014 WL 3748248, at *5, citing In re Cendant Corp.

 Litig., 264 F.3d at 262. The presumption that the movant with the largest financial

 interest is the most adequate plaintiff to lead the action may be rebutted only upon

 proof that the movant (1) will not fairly and adequately protect the interests of the

 class, or (2) is subject to unique defenses that render such movant incapable of

 adequately representing the class. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II), In re

 Opnext, Inc., 2008 U.S. Dist. LEXIS 60678, at *7- 10; see also Sklar, 2014 WL

 3748248, at *4.

        Of the four prerequisites to class certification, only two – typicality and

 adequacy – directly address the personal characteristics of the class representatives.

 Consequently, in deciding a motion to serve as lead plaintiff, the Court should limit

 its inquiry to the typicality and adequacy prongs of Rule 23(a), and defer

 examination of the remaining requirements until the lead plaintiff moves for class

 certification.



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          As detailed below, Movant satisfies the typicality and adequacy

 requirements of Rule 23(a), thereby justifying his appointment as Lead Plaintiff in

 the Actions.

                         1. Movant’s Claims are Typical of the Claims of the
                            Class

          The typicality requirement of Rule 23(a) is satisfied when (1) the claims of

 the proposed lead plaintiff arise from the same course of conduct that gives rise to

 the other purported class members’ claims, and (2) the claims are based on the same

 legal theory. See In re Merck & Co., Inc. Securities, No. 05-cv-1151, 2013 U.S.

 Dist. LEXIS 13511, at *39-40 (D.N.J. Jan. 20, 2013), In re PharmaPrint, Inc. Sec.

 Litig., No. 00-cv-00061, 2002 U.S. Dist. LEXIS 19845, at *16 (D.N.J. April 17,

 2002).

          The claims asserted by Movant are based on the same legal theory and arise

 out of the same course of events as the other purported class members’ claims.

 Movant purchased shares of Agile securities, as did each member of the proposed

 class, at prices artificially inflated by Defendants’ false and misleading statements

 and was damaged thereby. Thus, Movant satisfies the typicality requirement of Rule

 23(a).

                         2. Movant Will Fairly and Adequately Represent the
                            Class’ Interests




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       Under Rule 23(a)(4) of the Federal Rules of Civil Procedure, the

 representative party must “fairly and adequately protect the interest of the class.”

 Fed. R. Civ. P. 23(a)(4). A movant can demonstrate adequacy by showing that

 “(a) the [movant’s] attorney must be qualified, experienced, and generally able to

 conduct the proposed litigation, and (b) the [movant] must not have interests

 antagonistic to those of the class.” In re PharmaPrint, Inc. Sec. Litig., 2002 U.S.

 Dist. LEXIS 19845, at *16-17. Here, Movant’s interests are clearly aligned with

 the members of the proposed class. Not only is there no evidence of any antagonism

 between Movant’s interests and those of the class, but Movant has a significant and

 compelling interest in prosecuting the Actions based on the large financial losses he

 has suffered as a result of the wrongful conduct alleged in the Actions. This

 motivation, combined with Movant’s identical interest with the members of the

 Class, demonstrates that the Movant will vigorously pursue the interests of the Class.

 As detailed above, Movant’s claims raise similar questions of law and fact as claims

 of the members of the class, and Movant’s claims are typical of the members of the

 class. Further, Movant has demonstrated his adequacy and willingness to serve as and

 assume the responsibilities of a lead plaintiff, as reflected in his signed certifications.

 See Korsinsky Decl., Ex. A. Having suffered substantial losses, Movant will be a

 zealous advocate on behalf of the class.




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       In addition, Movant has selected Levi & Korsinsky – counsel highly

 experienced in prosecuting securities class actions – to represent them. See Korsinsky

 Decl., Ex. D. Thus, the close alignment of interests between Movant and other

 class members, and Movant’s strong desire to prosecute the Actions on behalf of the

 class, provide ample reason to grant Movant’s motion for appointment as Lead

 Plaintiff in the Actions.

       Accordingly, at this stage of the proceedings, the Movant has made the

 preliminary showing necessary to satisfy the typicality and adequacy requirements

 of Rule 23 and, therefore, satisfies 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc).       In

 addition, because the Movant has sustained the largest amount of losses from

 Defendants’ alleged wrongdoing, they are, therefore, the presumptive Lead Plaintiff

 in accordance with 15 U.S.C. § 78u-4(3)(B)(iii)(I), and should be appointed as such

 to lead the Action.

                         3. This Court Should Approve Movant’s Choice of
                            Counsel

       The Exchange Act vests authority in the lead plaintiff to select and retain

 lead counsel, subject only to court approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v).

 Movant has retained Levi & Korsinsky to file moving papers on behalf of

 themselves seeking appointment as Lead Plaintiff and to serve as lead counsel to

 pursue this litigation on behalf of Movant and the class. Levi & Korsinsky attorneys

 have extensive experience in the area of securities litigation and have successfully
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 prosecuted numerous securities class actions on behalf of injured investors. See

 Korsinsky Decl., Ex. D.

 IV.   CONCLUSION

       Movant has satisfied each of the PSLRA’s requirements for appointment as

 Lead Plaintiff. As such, Movant respectfully requests that the Court consolidate the

 Actions, appoint them as Lead Plaintiff, approve his selection of counsel, and grant

 such other relief as the Court may deem just and proper.



  Dated: March 7, 2017                 Respectfully submitted

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                           CERTIFICATE OF SERVICE

       I, Eduard Korsinsky, hereby certify that on March 7, 2017, I authorized the

 electronic filing of the foregoing with the Clerk of the Court using the CM/ECF

 system which will send notification of such filing to the registered participants as

 identified on the Notice of Electronic Filing.

                                             /s/Eduard Korsinsky
                                             Eduard Korsinsky
